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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

 

T.W. and K.W. as Parents and Legal |: | CASE NO. 1:18-cv-00668

Guardian of Jane Doe, a minor :

Judge Timothy 8. Black
Plaintiffs,

. ‘| DEFENDANTS’ PARTIAL MOTION TO

vs. ‘ | DISMISS PLAINTIFFS’ CORRECTED

’ | AMENDED COMPLAINT

FINNEYTOWN LOCAL SCHOOL

DISTRICT

Defendants.

 

 

 

 

 

Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants Finneytown Local
School District (‘School District”), Finneytown Local School District Board of Education
(“Board” or “Finneytown”), Grant Anderson, Laurie Banks, Jennifer Dinan, Douglas Dirr,
Douglas Lantz, Allison McCrea, Cathy McNair, Eric Muchmore, Terri Noe, Marlo Thigpen, and
Nicholas Tippenhauer move this Court to dismiss Counts I, VII, VIII, EX, X; all claims against the
School District, and Plaintiffs’ motion for injunctive relief. Defendants’ Motion is supported by
the attached Memorandum, the Stipulation entered March 7, 2019 (Doc # 9), the Order Granting
Defendant’s Partial Motion to Dismiss (Doc #10), and the pleadings.

Respectfully submitted,

/s/ Tan R. Smith

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Attorneys for Defendants Finneytown
Local School District, Finneytown Local
School District Board of Education,
Grant Anderson, Laurie Banks, Jennifer
Dinan, Douglas Dirr, Douglas Lantz,
Allison McCrea, Cathy McNair, Eric
Muchmore, Terri Noe, Marlo Thigpen, and
Nicholas Tippenhauer
MEMORANDUM
L ALLEGATIONS
A. Filings

On October 7, 2019, the court dismissed the three tort claims against the Board as well as
Plaintiffs’ request for punitive damages. (Doc #10, PAGEID # 96). Plaintiffs filed an amended
complaint on November 21, 2019 with the court’s leave. (Doc #12, PAGE #98). For some reason,
Plaintiffs kept the Finneytown Local School District as a Defendant while adding the Finneytown
Local School District Board of Education. (/d. at 99). This runs contrary to the law cited by the
Board and the court in its Order where the court stated that a school district is not sui juris. (Doc
#10, PAGEID #87).

Plaintiffs also revived their claim for injunctive relief, despite the parties negotiating and
filing a stipulation on March 7, 2019, which withdrew this claim and Plaintiffs’ motion for
preliminary and permanent injunction. (Doc #9, PAGEID #86).

In the “first” amended complaint, Plaintiffs sued Title IX compliance officers Douglas
Lantz and Laurie Banks; Superintendent Terri Noe; Administrators Anderson Grant, Marlo
Thigpen, and Eric Muchmore; Sociai Worker Cathy McNair; and Teachers Rhiana Blaugher,
Douglas Dirr, Allison McCrea, and Nicholas Tippenhauer. Plaintiffs have also sued a School

Resource Officer Frank McPherson and an unnamed colleague designated as Jane Roe. (/d. at 99-
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101). The undersigned does not represent McPherson or Roe, so this motion will not address the
claims against these individuals.

Subsequently, Plaintiffs filed a “corrected” amended complaint on January 17, 2020,
without the court’s leave. (Doc #17, PAGE #136). The corrections included dismissing the Board
from tort claims from which it had already been dismissed, correcting the name Anderson Grant
to Grant Anderson, and adding a new defendant, Counselor Emily Styles. (d.).

Plaintiffs have made no attempt to serve Defendants Rhiana Blaugher or Emily Styles, so
this motion does not directly address the sole claim against these individuals.

B. Specific Allegations as to the New Defendants

Plaintiffs offer no theory by which the School District is liable to them, or any justification
for it being kept in this suit. Ud. at PAGEID # 137).

Plaintiffs have not alleged any specific actions taken by Grant Anderson or Douglas Lantz.
(Doc #17, PAGEID # 136-152).

As to Superintendent Noe and Student Services Director Banks, Plaintiffs have only
alleged that they attended a meeting among the parties and legal counsel on May 3, 2018. Ud. at
PAGEID # 151).

Plaintiffs allege that Social Worker McNair attended an April 6, 2018 meeting with them
and other Board employees; at the meeting, McNair handed them a civil rights publication. (/d. at
PAGEID# 148-149).

As to Assistant Principal Thigpen, Plaintiffs allege that sfe (not he) attended the April 6"
meeting. (/d. at PAGEID#148).

As to Principal Dinan, Plaintiffs allege that Plaintiff's mother asked others to have Dinan

call her and Plaintiffs contend that Dinan did not call her. Ud, at PAGEID # 145). Plaintiffs also
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allege that Dinan, and other Board employees met with them on April 6, 2918 and at that meeting
Dinan asked would it help if Plaintiff and the boys sit down together and talk. (/d. at PAGEID#
148).

As to Teacher Dirr, Plaintiffs only allege that sometime during the 2016-2017 school year
he sent boys out of his classroom when Plaintiff complained to him of these boys’ behavior. (/d.
at PAGEID# 141), Plaintiffs do not allege that they contacted Dirr on their daughter’s behalf,
asking him to take any additional steps. U/d.). Plaintiffs do not allege that Dirr witnessed the
offending behavior.

Plaintiffs allege that Teachers McCrea and Tippenhauer failed to discipline boys who were
allegedly bothering Plaintiff with “crass jokes and comments, which were now accompanied by
lewd gesticulations, grunting, moaning, mimicking oral sex, and pornographic images and video,”
Ud. at PAGEID# 142, 146). Plaintiffs do not allege that McCrea or Tippenhauer witnessed the
offending behavior.

As to Dean of Students Muchmore, Plaintiffs allege that they left a note for him on March
1, 2018. Ud. at PAGEID#143). Plaintiff's mother alleges that on March 8, 2018, she called
Muchmore and told him that Plaintiff had been assaulted. (/d. at PAGEID# 145). Plaintiffs allege
that Plaintiff met with Muchmore in his office the next day. (/d.). Upon discussing her options,
Plaintiff agreed to and signed a cease-and-desist order “mutually binding on her and her
victimizers.” (fd. at PAGEID#145-146). Plaintiff alleges that she told Muchmore that boys who
had not signed the order were harassing her, and he told Plaintiff that there was nothing that he
could do. Ud. at 146). Plaintiff only attended school a few days before Plaintiffs met with

Muchmore and others on April 6, 2018. (Id. at PAGEID# 147-148).
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I. LAW AND ARGUMENT
A. Standard of Review

In deciding a Rule 12(b)(6) motion to dismiss, the court construes the facts alleged in the
Complaint in the light most favorable to the Plaintiff. D’Ambrosio v. Marino, 747 F.3d 378, 383
(6" Cir. 2014). The complaint must “contain sufficient factual matter . . . to state a claim to relief
that is a plausible on its face.” Ashcroft v. Igbal, 556 U.S. 662, 678 (2009). To survive a Rule
12(b)(6) motion, the Plaintiff must sufficiently plead facts that when taken as true, “contain either
direct or inferential allegations respecting all material elements necessary for recovery under a
viable legal theory.” D’Ambrosio, supra at 383.

A court will accept as true “all well pleaded material allegations” of the opposing party.
Johnson v. Bredesen, 624 ¥.3d 742, 746 (6" Cir. 2010). However, a court “need not accept as true
legal conclusions or unwarranted factual inferences.” JPMorgan Chase Bank, N_A. v. Winget, 510
F.3d 577, 581-82 (6" Cir, 2007). Notice pleading requires that a complaint contain a “short and
plain statement of the claims showing that the pleader is entitled to relief’ in order to “give the
Defendant fair notice of what the claim is and the grounds upon which it rests.” Bell Atlantic vy.
Twombly, 550 U.S. 544, 555 (2007). A claim has the requisite facia! plausibility when “the Plaintiff
pleads factual content that allows the Court to draw the reasonable inference that the Defendant is
liable for the misconduct alleged.” Jgbal, supra at 678. Factual allegations need not be detailed but
must be “enough to raise a right to relief above the speculative level.” Twombly, supra at 555. Ifa
complaint pleads facts that are merely consistent with a Defendant’s liability, it stops short of the
line between possibility and plausibility of entitlement to relief. /gbal, supra at 678.

When a court considers the facial plausibility of a complaint, it accepts as true the factual

allegations in the complaint, but not the legal conclusions. Jd. “Thus, if a legal conclusion is
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couched as a factual allegation, it need not be accepted as true.” Fritz y. Charter Twp. of Comstock,
§92 F.3d 718, 722 (6" Cir. 2010). “The tenet that a court must accept a complaint’s allegations as
true is inapplicable to threadbare recitals of a cause of action’s elements, supported by mere
conclusory statements.” Jd. at 663.

In a federal civil rights action, a plaintiff must have “alleged that a specific defendant
performed a specific act that suffices to state a [federal civil rights] claim.” Séiles v. Grainger
Cnty., 2015 U.S, Dist. Lexis 35505 at *17-18 (E.D. Penn. 2015). Listing names on the complaint’s
caption and alleging Constitutional violations in the body of the Complaint is insufficient to state
a cause of action against the individual defendants. Jd. at *17. Courts appropriately dismiss a
complaint where it merely identifies defendants as holding a particular position without specific
allegations concerning specific acts performed by each individual defendant that result in the
deprivation of the plaintiff's constitutional rights. Marcilis v. Twp. of Redford, 693 F.3d 589, 596
(6! Cir. 2012), Simply, “lumping all the defendants together” in each claim without providing any
specific factual basis to distinguish their conduct, fails to satisfy the minimum standard that a
complaint must give each defendant fair notice of what the plaintiff's claims are and the grounds
upon which they rest. Jd. Plaintiffs have failed to state a claim against these Defendants under the
above standard.

B. Plaintiffs’ Claims Against the School District

Plaintiffs have included the School District as a Defendant without any legal justification.
(Doc #17, PAGEID # 137). In spite of the legal authority cited in the Partial Motion to Dismiss,
Plaintiffs have taken the unusual approach of suing both the District and the Board.

Under Ohio law, a school district “does not exist and is not sui juris.” Mahdy v. Mason City

Sch. Dist., No. 1:16-CV-845, 2017 WL 25504, at *2 (S.D. Ohio Jan. 3, 2017). It is the board of
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education of the school district that is the body politic and corporate which is capable of suing and
being sued. /d.; R.C. 3313.17. The court cited the same authority in its Order. (Doc#10, PAGEID
#87). Based on this legal authority, Defendants ask this Court to dismiss all claims against the
School District.
C. Count VII: Negligence Claim Under R.C. 3313.66

Count VII is a state law negligence claim which was originally filed against the Board as
Count VI. (Doc #1, PAGEID#17-19). Plaintiffs refiled this claim in its entirety, substituting Banks,
Lantz, and Noe for the Board. (Doc #17, PAGEID #158). In this revived claim, Plaintiffs allege
that “Defendants breached their duty under R.C. 3313.666 to develop a strategy to protect the
Plaintiff from harassment, intimidation, bullying, and retaliation.” (Doc # 17, PAGEID #159).
Plaintiffs argue that this alleged breach “constitutes negligence in violation of R.C. § 2307.” Ud.).
As in their original Complaint, Plaintiffs do not identify the particular section of Chapter 2307
which expressly imposes liability upon these Defendants. Moreover, R.C. 3313.666 does not
expressly impose liability. To the contrary, R.C. 3313.666 (G) states: “This section does not create
anew cause of action or a substantive legal right for any person.” Accordingly, this claim must be
dismissed against Defendants Banks, Lantz, and Noe.

D. Count VIII: R.C. 2744.03 Negligence Action Against Defendants Anderson,
Dinan, and Noe

Plaintiffs identify Count VIII as “Gross Negligence (O.R.C. §2744.03).” (Doc #17,
PAGEID# 160). This claim was originally filed as Count VII against the. Board. (Doc #1,
PAGEID#19-20).

As Defendant Board cited in its first partial motion to dismiss, R.C. 2744.03 is a defense

to liability; it is not an exception to immunity. Golden vy. Milford Exempted Village School Bd. of
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Edn., 2009-Ohio-3418, 14 (12 Dist. 2009). “Only a municipality may assert the defenses ***
provided in R.C, 2744.03, in response to a claim of liability based on the statutory exceptions to
immunity enumerated in R.C. 2744.02(B).” Hill v. Urbana, 79 Ohio St. 3d 130, 138-139, 679
N.E.2d 1109, 1997-Ohio-400.

The court has already stated that R.C, 2744.03 is not a direct way to establish liability. (Doc
#10, PAGEID# 95). The substitution of individual school officials for the Board does not change
anything. Count VII is based on a defense to liability. It cannot serve as basis for a negligence
claim against Anderson, Dinan, and Noe. Thus, this claim must be dismissed.

K. Count X: Claim for Injunctive Relief

Count X has already been dismissed by the parties pursuant fo a negotiated Stipulation
entered more than 10 months ago. (Doc #9, PAGEID # 86). Neither party has filed a motion to
withdraw the Stipulation. Accordingly, this claim for injunctive relief and the corresponding
motion for preliminary and permanent injunction must be dismissed.

F. Count 1: “Failure to Comply with Title [X” Claim Against the Board

In Count I, Plaintiffs allege that the Board and the School District failed to comply with
Title IX’s administrative requirements. (Doc # 17, PAGEID #153). Specifically, Plaintiffs allege:

115. The FLSD Defendants failed to distribute a non-discrimination notice, and failed to

advise students, prospective students, parents, or employees of its Title IX coordinator’s

identity.

116. The FLSD Defendants failed to adopt and publish grievance procedures providing

for prompt resolution of complaints, to ensure that members of the school community

were aware of their rights under Title [X, and failed to ensure that the school community

was aware of how to file a complaint alleging a violation under Title IX.
(id.). This claim must be dismissed, because the implied private right of action under Title [x does

not allow recovery in damages for violation of those sorts of administrative requirements. Gebser

v. Lago Vista Independent School Dist, 524 U.S. 274, 292 (1998).
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G. Count IX: Intentional Infliction of Emotional Distress Claim Against McNair,
Thigpen, Dinan, Dirr, McCrea, Tippenhauer, and Muchmore

“In order to be actionable on a claim of intentional infliction of emotional distress, an
actor’s conduct must be extreme and outrageous. Hanley v. Riverside Methodist Hospital
(1991), 78 Ohio App. 3d 73, 603 N.E.2d 1126. To satisfy that standard, the acts
concerned must by their nature go beyond all possible bounds of decency so as to be
considered utterly intolerable in a civilized community. Pyle v. Pyle (1983), 11 Ohio
App.3d 31, 463 N.E.2d 98. Liability for intentional infliction of emotional distress ‘does
not extend to mere insults, indignities, threats, annoyances, petty oppressions, or other
trivialities.’ Yeager v. Local Union 20 (1983), 6 Ohio St. 3d 369, 375, 453 N.E.2d 666.”

Potter v. RETS Tech Center, Co., Inc., 2008 WL 615423 On Dist. 3/7/2008). “The behavior
complained of must go beyond the intentionally tortious or even the criminal. Yeager, supra at

671.

“In order to recover damages for the intentional infliction of serious emotional distress

four elements must be proved: a) that the actor intended to cause emotional distress or

knew or should have known that actions taken would result in serious emotional distress
to the plaintiff; b) that the actor’s conduct was extreme and outrageous, that it went
beyond all possible bounds of decency and that it can be considered utterly intolerable in

a civilized community; c) that the actor’s actions were the proximate cause of the

plaintiff's psychic injury; and d) that the mental anguish suffered by plaintiff is serious

and of a nature that no reasonable person could be expected to endure it.”
Pyle, supra at 31,

Plaintiffs allege no conduct by these defendants which goes beyond all possible bounds of
decency. Plaintiffs’ allegations against some of these Defendants center on an alleged failure to
impose discipline or impose harsher discipline on offending students. Other allegations simply
state that Defendants met with Plaintiffs’ parent(s). There is no allegation in the complaint which
states that any school official threatened, touched, assaulted, yelled at, or ridiculed Plaintiffs or
their daughter.

Plaintiffs ailege that Social Worker McNair attended an April 6, 2018 meeting with them

and other Board employees; at the meeting, McNair handed them a civil rights publication. (Doc
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#17, PAGEID# 148-149). Plaintiffs allege that Assistant Principal Thigpen attended the same
April 6" meeting. (/d. at PAGEID#148).

As to Principal Dinan, Plaintiffs allege that Plaintiff's mother asked others to have Dinan
call her and Plaintiffs contend that Dinan did not call her. (Jd. at PAGEID # 145), Plaintiffs also
contend that Dinan, and other Board employees met with them on April 6, 2018 and at that meeting
Dinan asked would it help if Plaintiff and the boys sit down together and talk. (Jd. at PAGEID#
148),

As to Teacher Dirr, Plaintiffs only allege that sometime during the 2016-2017 school year
he sent boys out of his classroom when Plaintiff complained to him of these boys’ behavior. (Jd.
at PAGEID# 141), Plaintiffs do not allege that they contacted Dirr on their daughter’s behalf,
asking him to take any additional steps. (/d.). Plaintiffs do not allege that Dirr witnessed the
offending behavior.

Plaintiffs allege that Teachers McCrea and Tippenhauer failed to discipline boys who were
allegedly bothering Plaintiff with “crass jokes and comments, which were now accompanied by
lewd gesticulations, grunting, moaning, mimicking oral sex, and pornographic images and video,”
(id. at PAGEID# 142, 146). Plaintiffs do not allege that McCrea or Tippenhauer witnessed the
offending behavior.

As to Dean of Students Muchmore, Plaintiffs allege that they left a note for him on March
1, 2018. Ud. at PAGEID#143). Plaintiff's mother alleges that on March 8, 2018, she called
Muchmore and told him that Plaintiff had been assaulted. (/d, at PAGEID# 145). Plaintiffs alleges
that Plaintiff met with Muchmore in his office the next day. (/d.). Upon discussing her options,
Plaintiff agreed to and signed a cease-and-desist order “mutually binding on her and her

victimizers.” (id, at PAGEID#145-146). Plaintiff alleges that she told Muchmore that boys who

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had not signed the order were harassing her, and he told Plaintiff that there was nothing that he
could do. (Ud. at 146). Plaintiff only attended school a few days before Plaintiffs met with
Muchmore and others on April 6, 2018, (/d. at PAGEID# 147-148).

With this claim, Plaintiffs are attempting a back-door Title IX claim against individuals. It
is without dispute that there is no individual liability under Title IX. Plaintiffs have filed three Title
{X claims against the Schoo! District and Board. (Doc #17, PAGEID #152-155), Defendants have
not moved to dismiss the Title IX claims numbered as Counts II and TH. Plaintiffs’ avenue for
addressing alleged peer-on-peer harassment is their Title IX claims, not this intentional tort which
requires extreme and outrageous conduct by Defendants.

Defendants additionally assert the statute-of-limitations affirmative defense to this claim.
If the underlying character of this claim is the alleged assaults and harassment by students, this
claim should be subject to a one-year statute of limitations, since the tort of assault has a one-year
statute of limitations. Stafford v. Columbus Bonding Ctr., 177 Ohio App. 3d 799, 810 (10™ App.
8/5/2008). The statute of limitations has run on this claim, since the last event of alleged
harassment or assault occurred on April 10, 2018 and this claim was not filed against these

defendants until November 21, 2019. (Doc #17, PAGEID # 149; Doc #12, PAGE 98),

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I. CONCLUSION
Based on the foregoing, Defendants move this Court to issue an order dismissing Counts
1, VII, VIE, [X, X; ail claims against the School District, and Plaintiffs’ motion for injunctive

relief.
Respectfully submitted,

/s/ Tan R, Smith

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Muchmore, Terri Noe, Marlo Thigpen, and
Nicholas Tippenhauer

CERTIFICATE OF SERVICE

I hereby certify that a true copy of the foregoing was filed electronically on February 3,
2020 using the Court’s CM/ECF system, which will serve all parties and counsel of record who
have appeared and constitutes service by rule. A copy of this filing was also sent via e-mail to the
following counsel: Bennett P. Allen, Esq. ballen@econjustice.com and_Scott A Sollmann, Esq.
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‘sf Tan R, Smith
lan R. Smith 0068195

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